         Case 1:21-cv-02021-PEC Document 8 Filed 10/20/21 Page 1 of 3




          In the United States Court of Federal Claims
                                        No. 21-2021C

                                  (E-Filed: October 20, 2021)

                                             )
 STEVEN E. SHUDA,                            )
                                             )
                     Plaintiff,              )
                                             )   Pro Se Complaint; Sua Sponte
 v.                                          )   Dismissal for Want of
                                             )   Jurisdiction; RCFC 12(h)(3).
 THE UNITED STATES,                          )
                                             )
                     Defendant.              )
                                             )

                                   ORDER OF DISMISSAL

       On October 13, 2021, plaintiff filed his complaint pro se in this court. ECF No. 1.
Because the court lacks jurisdiction over plaintiff’s claims, the court must dismiss this
case pursuant to Rule 12(h)(3) of the Rules of the United States Court of Federal Claims
(RCFC). See RCFC 12(h)(3) (“If the court determines at any time that it lacks subject-
matter jurisdiction, the court must dismiss the action.”). The court’s jurisdictional
analysis is set forth below.

I.    Background

        In his statement to invoke this court’s jurisdiction, plaintiff states, “I AM
ATTEMPTING A CHAPTER 6 FUNDRAISER ALONG WITH MANY LAWSUITES
AGAINST A AMOUNTED OF COMPANIES.” Id. at 1. The statement of claims states,
in its entirety, as follows: UNLAW FULL AMEND MENTING OF A TRIAL CASE -
BENCH TRIAL- HONORABLE JUDGE SPARKS ELLENSBURG SUPREME
COURT WASHINGTON STATE 98926, ALONG WITH MONREO CORRECTIONAL
FACILITY FOR UNLAWFULLY ADMINISTERED FORCED MEDICATION
WHICH WAS NOT ORDERED BY A JUDGE; ALSO A CHAPTER 6
FUNDRAISER.” Id. at 2. Plaintiff’s mailing addresses reflects that he resides at a State
Hospital in Blackfoot, Idaho. See id. His request for relief states that he is seeking to
“SUE FOR AS MUCH AS POSSIBLE & A CHAPTER 6 FUNDRAISER.” Id. at 3.
            Case 1:21-cv-02021-PEC Document 8 Filed 10/20/21 Page 2 of 3




II.    Legal Standards

       A.      Pro Se Plaintiffs

       Plaintiff is proceeding pro se and is therefore entitled to a liberal construction of
his pleadings. See Haines v. Kerner, 404 U.S. 519, 520 (1972) (requiring that allegations
contained in a pro se complaint be held to “less stringent standards than formal pleadings
drafted by lawyers”) (citations omitted). Pro se plaintiffs are “not expected to frame
issues with the precision of a common law pleading.” Roche v. U.S. Postal Serv., 828
F.2d 1555, 1558 (Fed. Cir. 1987). Accordingly, the court has examined the complaint
and plaintiff’s briefing thoroughly to discern all of plaintiff’s claims and legal arguments.

       B.      Dismissal for Lack of Jurisdiction

       Pursuant to the Tucker Act, this court has the limited jurisdiction to consider “any
claim against the United States founded either upon the Constitution, or any Act of
Congress or any regulation of an executive department, or upon any express or implied
contract with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort.” 28 U.S.C. § 1491(a)(1).

        To invoke this court’s jurisdiction, plaintiff bears the burden of establishing by a
preponderance of the evidence that his claims are based upon the Constitution, a statute,
or a regulation that “can fairly be interpreted as mandating compensation by the Federal
Government for the damages sustained.” United States v. Mitchell, 463 U.S. 206, 217
(1983) (quoting United States v. Testan, 424 U.S. 392, 400 (1976)); see also Reynolds v.
Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). In reviewing
plaintiff’s allegations in support of jurisdiction, the court must presume all undisputed
facts are true and construe all reasonable inferences in plaintiff’s favor. Scheuer v.
Rhodes, 416 U.S. 232, 236 (1974), abrogated on other grounds by Harlow v. Fitzgerald,
457 U.S. 800, 814-15 (1982); Reynolds, 846 F.2d at 747 (citations omitted).

        “A court may and should raise the question of its jurisdiction sua sponte at any
time it appears in doubt.” Arctic Corner, Inc. v. United States, 845 F.2d 999, 1000 (Fed.
Cir. 1988) (citation omitted). If the court determines that it lacks subject matter
jurisdiction, it must dismiss the complaint. See RCFC 12(h)(3).

III.   Analysis

       Plaintiff’s complaint is not a model of clarity. But in the court’s view, neither the
allegedly forced administration of medication by a state hospital, nor plaintiff’s personal
fundraising activities, “can fairly be interpreted” as alleging claims for monetary damages
against the United States. Mitchell, 463 U.S. at 217 (quoting Testan, 424 U.S. at 400).



                                              2
         Case 1:21-cv-02021-PEC Document 8 Filed 10/20/21 Page 3 of 3




Absent such a claim for monetary damages, the is court lacks jurisdiction to consider
plaintiff’s case. See id.

        Because there is no claim in the complaint within this court’s jurisdiction,
plaintiff’s suit must be dismissed, pursuant to RCFC 12(h)(3).

IV.    Conclusion

       Accordingly, the clerk’s office is directed to ENTER final judgment
DISMISSING plaintiff’s complaint for lack of subject matter jurisdiction, without
prejudice, pursuant to RCFC 12(h)(3). Additionally, the clerk’s office is directed to
RETURN any future filings not in compliance with this court’s rules to plaintiff,
UNFILED, without further order of the court.

       IT IS SO ORDERED.

                                                  s/Patricia E. Campbell-Smith
                                                  PATRICIA E. CAMPBELL-SMITH
                                                  Judge




                                              3
